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 8                         UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
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11   KURIN, INC.,                                    CASE NO. 3:20-CV-1011-L-LL
                          Plaintiff,
12                                                   ORDER GRANTING SECOND
           v.                                        JOINT MOTION TO EXTEND
13                                                   TIME TO RESPOND TO
     MAGNOLIA MEDICAL                                COMPLAINT
14   TECHNOLOGIES, INC.,
15                        Defendant.
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17         For good cause shown pursuant to Federal Rule of Civil Procedure 6(b), the
18   Joint Motion to Extend Time to Respond to Complaint (doc. no. 6) is granted.
19   Accordingly, no later than July 31, 2020, Defendant shall file its response, if any, to
20   the complaint.
21         IT IS SO ORDERED.
22   Dated: July 17, 2020
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                                                                     CASE NO.3:20-CV-1011-L-LL
